      Case 1:24-cr-00542-AS         Document 228-2         Filed 04/15/25     Page 1 of 2


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES,
                                                     S3 24 cr. 542 (AS)
v.
                                                     MOTION FOR ADMISSION
SEAN COMBS,
                                                     PRO HAC VICE
                 Defendant.
___________________________

                         SWORN STATEMENT OF BRIAN STEEL

       Comes now Brian Steel, Applicant for admission to practice Pro Hac Vice, and pursuant to

LR 1.3 makes the following sworn statement:

1.     Since November of 1991, I have been licensed to practice law in the State of Georgia and

       I am a member in good standing of the Bar of the highest court of the State of Georgia. A

       Certificate of Good Standing issued within the past 30 days by the Supreme Court of

       Georgia is attached hereto as Exhibit “A”.

2.     I have never been convicted of a felony.

3.     I have never been disbarred or denied admission or readmission by any court. However,

       subject to that statement, I disclose the information below:

       a.     Since 1991, I have practiced law in the State of Georgia. From 1990-1991, I

              worked in the State of New York where I had become a member of the New York

              Bar in 1990. In 2005, I learned that I had been administratively suspended from

              the New York State Bar for non-payment of fees in 1999. I had not been aware of

              my obligations to pay annual fees for a license that I was not maintaining as

              active. I promptly paid all outstanding fees and was reinstated in June 2005, at

              which time I resigned as a member of the New York State Bar.

       b.     On November 13, 2001, I was held in civil contempt for refusing to proceed to


                                           Page 1 of 2
                                EXHIBIT B
     Case 1:24-cr-00542-AS         Document 228-2          Filed 04/15/25       Page 2 of 2




              trial after a trial court in State v. Janice Carlisle (Gwinnett County Superior Court,

              Indictment No. 97-B-0731-1) denied my client's Plea of Fonner Jeopardy and I

              properly filed a Notice of Appeal. The Court of Appeals of Georgia granted an

              emergency stay of the trial finding that the trial court had been divested of

              jurisdiction and that I was wrongly held in contempt.

       c.     On June I 0, 2024, I was held in contempt by a Superior Court Judge in Fulton

              County, Georgia in State of Georgia v. Jeffery Williams et al., Case Number

              22SC 183 572 when the judge wrongfully ordered that I reveal privileged

              information. The misdemeanor contempt conviction was reversed by a

              unanimous Supreme Court of Georgia on October 22, 2025 (Case No.

              S24A1245).

4.     There are no disciplinary proceedings presently pending against me and I have never been

       the subject of disciplinary proceedings.

5.     By applying for admission to practice before this Court for purposes of representing Mr.

       Combs, I understand that I am deemed to have conferred disciplinary jurisdiction upon

       this Court for any alleged misconduct arising in the course of or in preparation for the

       proceeding.

       This 11th day of April, 2025.




                                           Page 2 of 2
